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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                        Case No: 8:17-bk-10721 CPM
                                                              Chapter 7
MAKI, ROLAND K,

            Debtor(s).
____________________________/

                      MOTION TO SELL REAL PROPERTY
                  SUBJECT TO ALL ENCUMBRANCES, LIENS
          AND INTERESTS AND SOLICITATION OF GREATER OFFERS
     AND FOR AUTHORITY TO IMMEDIATELY PAY THE APPLICABLE TAXES
                (5318 Poinsettia Dr., New Port Richey, FL 34652 and
                   7226 Jenner Ave., New Port Richey, FL 34655)

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

      Pursuant to local rule 2002-4, the Court will consider the relief requested in this
   paper without further notice or hearing unless a party-in-interest files a response
   within 21 days from the date set forth on the proof of service, plus an additional
   three days for service if any party was served by U.S. mail.

      If you object to the relief requested in this paper, you must file your response
   with the Clerk of the Court at Sam M. Gibbons Courthouse, 801 N. Florida Ave.,
   #555, Tampa, FL 33602-3899, and serve a copy on the Trustee, Christine L.
   Herendeen, at P.O. Box 152348, Tampa, FL 33684, and any other appropriate
   person(s) within the time allowed. If you file and serve a response within the time
   permitted, the Court will either schedule and notify you of a hearing, or consider the
   response and grant or deny the relief requested without a hearing.

      If you do not file a response within the time permitted, the Court will consider
   that you do not oppose the relief requested in the paper, will proceed to consider the
   paper without further notice or hearing, and may grant the relief requested.


         COMES NOW Christine L. Herendeen, Chapter 7 Trustee, by and through her

undersigned counsel, and hereby moves for authority to sell certain improved real property

subject to all liens, encumbrances and interests, and for authority to immediately pay the

applicable taxes, and in support thereof states as follows:
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                                           JURISDICTION

         1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

(M), (N) and (O).

         1.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.      The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b)

and Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                    PROPOSED SALE TERMS

         3.      Christine L. Herendeen, the Trustee duly appointed and acting for the above-

captioned estate reports that the Trustee intends to sell the following property of the estate of the

Debtor(s) under the following terms and conditions, twenty-one (21) days from the date set forth

on the proof of service attached to this motion plus an additional three (3) days:

             a. Description of Property: All of Bankruptcy Estate’s right, title and interest in the
         parcel(s) of non-exempt real property, together with any and all improvements located
         thereon, including any and all non-exempt appliances, window treatments and fixtures as
         well as any and all tenements and appurtenances thereto belonging or in anywise
         appertaining (collectively, the “Property”) more particularly described as follows:

Address No. 1:          5318 Poinsettia Dr., New Port Richey, FL 34652

Legal:           Lot 30, of Floral Park Partial Replat Phase I, according to the plat thereof recorded
                 in Plat Book 10, Page 29 et seq., of the Public Records of Pasco County, Florida.

Address No. 2:          7226 Jenner Ave., New Port Richey, FL 34655

Legal:           Lot 763, Seven Springs Homes Unit Four, According to the map or plat thereof, as
                 recorded in Plan Book 14, Pages 104 and 105, of the Public Records of Pasco
                 County, Florida.

              b. Manner of Sale: Private

              c. Terms of Sale: Wire or Certified Funds Only
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   d. Purchaser: Address No. 1: Black Point Assets, Inc., as Trustee of the 5318
                 Poinsettia Dr. Land Trust; and, Address No. 2: Black Point Assets,
                 Inc., as Trustee of the 7226 Jenner Ave. Land Trust
       The proposed Buyer is a bona fide “good faith” purchaser within the meaning of
11. U.S.C. § 363(m) with no relation to the Debtor or the Trustee.

   e. Purchaser’s Address: 424 E. Central Blvd., Orlando, FL 32801

   f. Sale Price: $3,500.00 each property address, subject to the auction procedures
described in Paragraph 5 below.

         Based upon the liens and encumbrances listed herein and obtained from the
Debtor(s) schedules, the Trustee believes the offer is fair and reasonable and that the sale
is in the best interest of creditors and the estate.

    g. Applicable Taxes and Government Charges: The Trustee’s Deed prepared in
connection with the sale will set forth as consideration the purchase price, together with
the total amount of liens and encumbrances listed in paragraph h. below. Therefore, the
Purchaser will be required to pay, and agrees to pay, the Florida documentary stamp tax
calculated pursuant to Fla. Stat. § 201.02 on the total consideration reflected in the
Trustee’s Deed. In the event there are no higher bidders, the documentary stamp taxes to
be paid on the proposed sale of Address No. 1: 5318 Poinsettia Dr., New Port Richey,
FL 34652 will be $796.60 ($72,704.00 1st mortgage + $37,537.00 2nd mortgage +
$3,500.00 sales price = total consideration of $113,741.00, rounded up to the next one
hundred dollars = $113,800.00), and on the proposed sale of Address No. 2: 7226 Jenner
Ave., New Port Richey, FL 34655 will be $614.60 ($66,937.00 1st mortgage + $17,307.00
2nd mortgage + $3,500.00 sales price = total consideration of $87,744.00, rounded up to
the next one hundred dollars = $87,800.00); payment @ .70 per $1,000.00); however, this
amount is subject to increase in the event of a higher bid and a higher purchase price.

        Upon expiration of the negative notice period outlined herein, the Trustee shall
collect from the Purchaser an amount equal to the Sale Price, together with the
Applicable Taxes and Government Charges, calculated as set forth above. Upon receipt
of funds, the Trustee shall immediately:

       1) Execute a Trustee’s Deed and properly record an original copy of the executed
          Deed with the Clerk of the Court for the County where the Property is located.
       2) Incident to recording the Trustee’s Deed, the Trustee shall pay all applicable
          taxes (i.e., documentary stamp taxes) in full.
       3) Upon return receipt of the Trustee’s Deed from the Clerk of Court, the original
          shall be delivered by the Trustee, or her Attorney, to the Purchaser via U.S.
          Mail and a copy of the same shall be filed with the Clerk of the Court for the
          Middle District of Florida, Bankruptcy Court.

   h. Ownership Interest to be Transferred: All right, title and interest of bankruptcy
estate, if any.
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          i. Subject to all liens and encumbrances, if any. No warranties of no liens. No
       warranties of any kind. Liens included on the Debtor’s Schedule D include:
Address No. 1:         5318 Poinsettia Dr., New Port Richey, FL 34652
       Lienholder                             Amount                 Nature of Secured Interest
       Bank of America                        $72,704.00 *           Mortgage*
       NC4-102-03-14
       P.O. Box 26012
       Greensboro, NC 27410

       Wells Fargo Home Mortgage              $37,537.00             Mortgage*
       8480 Stagecoach Cir.
       Frederick, MD 21701

Address No. 2:         7226 Jenner Ave., New Port Richey, FL 34655
       Lienholder                             Amount                 Nature of Secured Interest
       Bank of America                        $66,937.00 *           Mortgage*
       NC4-105-03-14
       P.O. Box 26012
       Greensboro, NC 27410

       Bank of America                        $17,307.00 *           Mortgage*
       NC4-102-03-14
       P.O. Box 26012
       Greensboro, NC 27410
*As per the Debtor(s) bankruptcy schedules
                          SOLICITATION OF GREATER OFFERS

       4.      The Trustee will entertain any higher bids for the purchase of the Property that the

Trustee proposes to sell. Such bids must be in writing and must be accompanied by a deposit for

100% of the proposed higher purchase price. Such bids must be received by the Trustee

electronically at clherendeen@herendeenlaw.com, and by US Mail at the address listed below, no

later than the close of business twenty-one (21) days from the date of mailing of this Motion, as

indicated in the Certificate of Service. Should a higher bid be received, the Trustee will conduct

a telephonic auction between the original purchaser named in this notice and the additional

bidder(s) at the earliest reasonable time after the said twenty one (21) days to determine the

ultimate purchaser. The trustee reserves the right, without a penalty, to withdraw this offer of
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sale at any time. This sale will not become final until after the expiration of the twenty one (21)

day objection period and/or a favorable disposition of any objections to the sale.

       5.      The Trustee requests authorization for the secured lienholders and the ultimate

Purchaser to communicate regarding the future disposition of the Property, including but not

limited to, communications in connection with any unsatisfied liens or encumbrances of record.

       6.      Finally, the Trustee requests that any Order approving the sale include a provision

that shortens the fourteen day stay period required pursuant to Rule 6004(h) to allow the closing

to occur immediately upon entry of the order granting the instant motion.

       WHEREFORE, the Trustee requests this Court to enter an order on the following terms:

       A.      Authorizing the sale of the Property to the ultimate purchaser subject to all liens,

encumbrances, or interests of any party and authorizing payment of applicable taxes;

       B.      Authorizing the Trustee to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtor(s) in the Property to the

Purchaser;

       C.      Authorizing the Trustee to immediately pay the Applicable Taxes,

       D.      Waiving the Rule 6004(h) stay period, and

       E.      Granting the Trustee such other and further relief as is just and proper.

                                              Herendeen Law, LLC
                                              Attorney for Trustee
                                              P.O. Box 152348
                                              Tampa, FL 33684
                                              (813) 438-3833
                                              clherendeen@herendeenlaw.com

                                              By: /s/ Christine L. Herendeen
                                                 Christine L. Herendeen
                                                 Florida Bar No. 0094315
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                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
IN RE: ROLAND K MAKI                                            CASE NO: 8:17-bk-10721-CPM
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7
                                                                ECF Docket Reference No.
                                                                Judge:
                                                                Hearing Location:
                                                                Hearing Date:
                                                                Hearing Time:
                                                                Response Date:


On 2/13/2018, I did cause a copy of the following documents, described below,
Motion to Sell Real Property Subject to All Encumbrances, Liens and Interests, Solicitation of Greater Offers and for
Authority to Immediately Pay the Applicable Taxes




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.
                                                                   /s/ Christine L. Herendeen
DATED: 2/13/2018                                                   Christine L. Herendeen 0094315
                                                                   Herendeen Law, LLC
                                                                   P.O. Box 152348
                                                                   Tampa, FL 33684
                                                                   813 438 3833
                                                                   clherendeen@herendeenlaw.com
                             Case 8:17-bk-10721-CPM                  Doc 19       Filed 02/13/18          Page 7 of 9




                                         UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                  TAMPA DIVISION
 IN RE: ROLAND K MAKI                                                     CASE NO: 8:17-bk-10721-CPM

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 7
                                                                          ECF Docket Reference No.
                                                                          Judge:
                                                                          Hearing Location:
                                                                          Hearing Date:
                                                                          Hearing Time:
                                                                          Response Date:

On 2/13/2018, a copy of the following documents, described below,

Motion to Sell Real Property Subject to All Encumbrances, Liens and Interests, Solicitation of Greater Offers and for
Authority to Immediately Pay the Applicable Taxes




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 2/13/2018




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             Herendeen Law, LLC
                                                                             Christine L. Herendeen
                                                                             P.O. Box 152348
                                                                             Tampa, FL 33684
                       Case 8:17-bk-10721-CPM
PARTIES DESIGNATED AS "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS    19 CLASS
                                                         FIRST   Filed 02/13/18 Page 8 of 9
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                                                         DEBTOR
1 LABEL MATRIX FOR LOCAL NOTICING        2 BANK OF AMERICA NA                     3 ROLAND K MAKI
113A8                                    CO FRENKEL LAMBERT ET AL                 1201 KINGSWOOD DR
CASE 8-17-BK-10721-CPM                   ONE EAST BROWARD BLVD SUITE 1430         CLEARWATER FL 33759-2718
MIDDLE DISTRICT OF FLORIDA               FORT LAUDERDALE FL 33301-1844
TAMPA
TUE FEB 13 09-32-39 EST 2018




4 NATIONSTAR MORTGAGE LLC DBA MR         5 WELLS FARGO BANK NA                    6 AMEX
COOPER                                   CO ELIZABETH ECKHART                     CORRESPONDENCE
ROBERTSON ANSCHUTZ SCHNEID PL            SHAPIRO FISHMAN GACHE LLP                PO BOX 981540
6409 CONGRESS AVENUE SUITE 100           4630 WOODLAND CORPORATE BLVD             EL PASO TX 79998-1540
BOCA RATON FL 33487-2853                 SUITE 100
                                         TAMPA FL 33614-2429




7 BANK OF AMERICA                        8 BANK OF AMERICA                        9 BARCLAYS BANK DELAWARE
NC41020314                               NC41050314                               100 S WEST ST
PO BOX 26012                             PO BOX 26012                             WILMINGTON DE 19801-5015
GREENSBORO NC 27420-6012                 GREENSBORO NC 27420-6012




10 CAP1BSTBY                             11 CAPIO PARTNERS                        12 CAPITAL ONE
CAP ONE RETAIL SERVBCY                   PO BOX 1378                              ATTN GENERAL CORRESPONDENCEBANKRUPTCY
PO BOX 30258                             SHERMAN TX 75091-1378                    PO BOX 30285
SALT LAKE CITY UT 84130-0258                                                      SALT LAKE CITY UT 84130-0285




13 CARDWORKSCW NEXUSMERRICK              14 CITIBANKTHE HOME DEPOT                15 CITICARDS CBNA
ATTN BANKRUPTCY                          CITICORP CR SRVSCENTRALIZED BANKRUPTCY   CITICORP CREDIT SVCCENTRALIZED
PO BOX 9201                              PO BOX 790040                            BANKRUPT
OLD BETHPAGE NY 11804-9001               ST LOUIS MO 63179-0040                   PO BOX 790040
                                                                                  SAINT LOUIS MO 63179-0040




16 CREDIT ONE BANK NA                    17 DISCOVER BANK                         18 DISCOVER FINANCIAL SERVICES LLC
PO BOX 98873                             DISCOVER PRODUCTS INC                    PO BOX 3025
LAS VEGAS NV 89193-8873                  PO BOX 3025                              NEW ALBANY OH 43054-3025
                                         NEW ALBANY OH 43054-3025




19 FIRST NATIONAL BANK                   20 JACOBS                                21 LVNV FUNDINGRESURGENT CAPITAL
ATTN FNN LEGAL DEPT                      125 BROADWAY AVE                         PO BOX 10497
1620 DODGE ST MAILSTOP CODE 3290         OAK RIDGE TN 37830-5436                  GREENVILLE SC 29603-0497
OMAHA NE 68102-1593




22 LARGO MEDICAL                         23 LENDING CLUB CORP                     24 METLIFE
PO BOX 740743                            71 STEVENSON ST                          PO BOX 13724
CINCINNATI OH 45274-0743                 SUITE 300                                PHILADELPHIA PA 19101-3724
                                         SAN FRANCISCO CA 94105-2985




25 NATIONSTAR MORTGAGE LLC               26 PROSPER MARKETPLACE INC               27 REGIONS BANKCARD
ATTN BANKRUPTCY                          PO BOX 396081                            ATTN BANKRUPTCY
8950 CYPRESS WATERS BLVD                 SAN FRANCISCO CA 94139-6081              1900 5TH AVE N 300
COPPELL TX 75019-4620                                                             BIRMINGHAM AL 35203-2610
                       Case 8:17-bk-10721-CPM
PARTIES DESIGNATED AS "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS    19 CLASS
                                                         FIRST   Filed 02/13/18 Page 9 of 9
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM



28 RESURGENT CAPITAL SERVICES            29 SYNCHRONY BANKCARE CREDIT             30 SYNCHRONY BANKGAPPAYPAL
PO BOX 10587                             ATTN BANKRUPTCY                          ATTN BANKRUPTCY
GREENVILLE SC 29603-0587                 PO BOX 965060                            PO BOX 965060
                                         ORLANDO FL 32896-5060                    ORLANDO FL 32896-5060




                                                                                  CM/ECF E-SERVICE
31 SYNCHRONY BANKWALMART                 32 WELLS FARGO BANK NA                   33 GARY H BAKER +
ATTN BANKRUPTCY                          WELLS FARGO HOME MORTGAGE AMERICAS       GARY H BAKER PA
PO BOX 965060                            SERVICING                                2470 SUNSET POINT RD
ORLANDO FL 32896-5060                    ATTN BANKRUPTCY DEPT MAC X7801-014       CLEARWATER FL 33765-1515
                                         3476 STATEVIEW BLVD
                                         FORT MILL SC 29715-7203


CM/ECF E-SERVICE                         CM/ECF E-SERVICE                         CM/ECF E-SERVICE
34 UNITED STATES TRUSTEE   TPA713 +      35 STEVEN G POWROZEK +                   36 BOUAVONE AMPHONE +
TIMBERLAKE ANNEX SUITE 1200              SHAPIRO FISHMAN GACHE                    ROBERTSON ANSCHUTZ SCHNEID PL
501 E POLK STREET                        4630 WOODLAND CORPORATE BLVD             6409 CONGRESS AVENUE SUITE 100
TAMPA FL 33602-3949                      SUITE 100                                BOCA RATON FL 33487-2853
                                         TAMPA FL 33614-2429



EXCLUDE                                  CM/ECF E-SERVICE                         CM/ECF E-SERVICE
37 CHRISTINE L HERENDEEN ATTORNEY FOR    38 CHRISTINE L HERENDEEN +               39 KENIA L MOLINA +
TRUSTEE                                  PO BOX 152348                            FRENKEL LAMBERT WEISS WEISMAN GORDON
PO BOX 152348                            TAMPA FL 33684-2348                      LLP
TAMPA FL 33684-2348                                                               ONE EAST BROWARD BOULEVARD SUITE 1430
                                                                                  FORT LAUDERDALE FL 33301-1844



CM/ECF E-SERVICE                         CM/ECF E-SERVICE
40 ELIZABETH ECKHART +                   41 NOTE ENTRIES WITH A + AT THE END
SHAPIRO FISHMAN GACHE                    OF THE
4630 WOODLAND CORPORATE BLVD             NAME HAVE AN EMAIL ADDRESS ON FILE IN
SUITE 100                                CMECF
TAMPA FL 33614-2429
